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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


MANUEL C. LOPEZ, JR., on behalf of
himself and all others similarly situated,           CIVIL ACTION

                Plaintiff,                           District Judge John Z. Lee

       v.                                            Magistrate Judge Mary Rowland

HALSTED FINANCIAL SERVICES, LLC, et                  NO. 1:16-cv-02539
al.

                Defendants.

         MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT HALSTED

         Legal counsel for Defendant HALSTED FINANCIAL SERVICES, LLC ("Halsted"),

 Carlos Ortiz, James C. Vlahakis and Brendon Stein ("Counsel"), move this Court for an order

 granting them leave to withdraw from their representation of Halsted and in support state:

         1.      Local Rule 83.17 provides that "[t]he attorney of record may not withdraw, nor

 may any other attorney file an appearance on behalf of the same party or as a substitute for the

 attorney of record, without first obtaining leave of court . . . ."

         2.      As discussed in open court last week, Halsted has asked Counsel to withdraw

 from this case. Because the reasoning behind this request is governed by the attorney client

 privilege, the basis for Halsted's request to withdraw is privileged.            As further basis for

 supporting this motion is the fact that Counsel has not been paid for several months.

         3.      Counsel certifies that attorney James C. Vlahakis emailed the Court's Minute

 Order of March 3, 2017 (dkt. 116) to Halsted, in care of Syed Ali, on March 3rd. The Minute

 Order reads in relevant part: "Halsted's motion to withdraw as counsel shall be due by 3/9/17.

 Halsted Financial Services must retain counsel by 3/9/17; counsel must file their appearance by



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3/9/17. If counsel is not retained, a representative from Halsted must be present at the next

status."

           4.    For the reasons discussed in Paragraph 2, Counsel can no longer represent

Halsted.

           5.    Counsel certifies that attorney James C. Vlahakis will email a filed stamped copy

of this Motion to Halsted, in care of Syed Ali, immediately after filing this Motion.

           WHEREFORE, for the reasons set forth above, counsel for Defendant HALSTED

FINANCIAL SERVICES, LLC, attorneys Carlos Ortiz, James C. Vlahakis and Brendon Stein

move this Court for an order granting them leave to withdraw from their representation.

/s/ James C. Vlahakis

One of Halsted’s Attorneys

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 9, 2017, I electronically filed the above Motion with the
Clerk of the U. S. District Court, Northern District of Illinois, Eastern Division by using the
CM/ECF system which will send notification of such filing(s) to all counsel of record and to
Halsted via email in care of Syed Ali.




                                                    By: s/James C. Vlahakis
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